Case 6:14-cv-00901-PGH®KRS Document1 Filed 06/10/14 amP age 1 of 19 PagelD 1

IN THE UNITED STATES DISTRICT INJUNCTIVE RELIEF SOUGHT
COURT, MIDDLE DISTRICT OF
FLORIDA, ORLANDO DIVISION

CASE NO.:

WELLS FARGO BANK, NATIONAL il4-Cv~ FO1- 084 SuKPA
ASSOCIATION, — successor-by-merger to
Wachovia Bank, National Association, a
national banking association, individually, and
as agent for itself and Regions Bank, an
Alabama state chartered bank, successor-by-
merger to AmSouth Bank; and REGIONS
BANK, an Alabama state chartered banking
association, successor-by-merger to AmSouth

wl dy,

Bank, é

Plaintiffs, ~
VS. ~
SABRINA BARBER, an individual, f/k/a a
SABRINA AZZOUZ; BLAKER *

ENTERPRISES, LLC, a Nevis _ limited
liability company; TD AMERITRADE, INC.,
a New York corporation; and APPLIED
BANK, a Delaware banking corporation,

Defendants.

COMPLAINT.
Plaintiffs, WELLS FARGO BANK, NATIONAL ASSOCIATION, successor-by-

merger to Wachovia Bank, National Association, a national banking association,
individually, and as agent for itself and Regions Bank, an Alabama state chartered bank,
successor-by-merger to AmSouth Bank (‘Wells Fargo”) and REGIONS BANK, an
Alabama state chartered banking association, successor-by-merger to AmSouth Bank
(“Regions”, and together with Wells Fargo, the “Plaintiffs”), by and through their
respective undersigned attorneys, hereby sue Defendants, SABRINA BARBER, an

individual, f/k/a SABRINA AZZOUZ (“Barber”), BLAKER ENTERPRISES, LLC, a

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Case 6: 14-cv-00901-P Cha KES Document 1 Filed 06/1011 am 298 2 of 19 PagelD 2

Nevis limited liability company (“Blaker”), TD AMERITRADE, INC., a New York
corporation (“TD”), and APPLIED BANK, a Delaware banking corporation (“Applied”),
and for causes of action states the following:

JURISDICTIONAL ALLEGATIONS

1. Wells Fargo is a national banking corporation authorized to transact
business in the State of Florida, but having its principal place of business in San
Francisco, California.

2. Regions is an Alabama state chartered banking association authorized to
transact business in the State of Florida, but having its principal place of business in
Birmingham, Alabama.

3. Barber is a natural person residing at 472 Valley View Dr., Winter Garden,
Florida 34787-4512, which residence is located in Orange County, Florida.

4, Blaker is a limited liability company organized in the Island of Nevis, but,
pursuant to its Operating Agreement, has a principal office at 472 Valley View Dr.,
Winter Garden, Florida 34787-4512, which office is located in Orange County, Florida.

5. TD is a New York corporation authorized to transact business in Florida,
and having a principal place of business in Omaha, Nebraska.

6. Applied is a Delaware banking corporation having a principal place of
business in Newark, Delaware.

7. This Court has personal jurisdiction over the Defendants because Barber
resides in the State of Florida, Blaker has its principal place of business in the State of

Florida, TD has submitted to the jurisdiction of the State of Florida by being authorized

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Case 6:14-cv-00901-PGimKRS Document 1 Filed 06/10/14 pm? AGE 3 of 19 PagelD 3

to transact, and actually transacting, business within the State of Florida, and Applied has
submitted itself jurisdiction of the State of Florida by electronically accepting deposits
from and transacting other business with citizens of Florida, including, without limitation,
Barber and Blaker (Deposition 18:7-16).

8. This Court has subject matter jurisdiction over the claims alleged below
under 28 U.S.C. § 1332, since the matter in controversy exceeds the sum or value of
$75,000.00, exclusive of interest, costs, and attorneys’ fees and there is complete
diversity of citizenship as Wells Fargo is a citizen of California, Regions is a citizen of
Alabama, Barber and Blaker are citizens of Florida, TD is a citizen of Nebraska and New
York, and Applied is a citizen of Delaware.

9. Venue is proper in this Judicial District under 28 U.S.C. § 1391 because
Barber resides in and Blaker has its principal place of business within this District and
because a substantial part of the events giving rise to the claims asserted herein occurred
in this District.

GENERAL ALLEGATIONS

10. The Plaintiffs are the owners and holders of that certain Partial Summary
Final Judgment as to Counts V and VI of Plaintiff's Complaint entered on January 20,
2010 as modified by that certain Deficiency Judgment as to Kevin H. Azzouz and Sabrina
M. Azzouz entered on October 3, 2013 in the amount of $62,491,162.98 in Orange
County, Florida, Circuit Court Case No. 2008-CA-12672-O (together, the “Judgment’’),
which Judgment remains outstanding. True copies of the documents comprising the

Judgment are attached hereto as Composite Exhibit “A”.

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Case 6:14-cv-00901-PG fa KRS Document 1 Filed 06/10/14 ,_Page 4 of 19 PagelD 4

11. Barber is a judgment debtor under the Judgment.

12. Blaker is a single-member limited liability company, the sole member of
which is Barber (Deposition 28:10-15).

13. Among other things, Blaker owns those certain accounts located at TD and
Applied as further described herein. TD and Applied are sued herein solely as nominal
defendants due the existence of such accounts.

14. On June 6, 2014, The Plaintiff’s undersigned attorneys deposed Barber in
aid of execution (the “Deposition”). Pursuant to documents produced in connection with
the Deposition and Barber’s testimony at the Deposition, the Plaintiffs have become
aware of the facts described below in the section entitled “Transfers.” The transcript of
Barber’s Deposition is being filed with this Court contemporaneously with this
Complaint.

TRANSFERS
Homestead Accounts

15. | In connection with the sale of her former marital residence during her
dissolution of marriage, Barber received approximately ONE MILLION DOLLARS
sometime prior to April 13, 2009 (Deposition 67:15 — 68:4).

16. Barber deposited those funds in Account No. xxx0012 at American
Momentum Bank (the “AM-012 Account”), which funds continued to earn interest until
September 21, 2009, at which time the AM-012 Account contained a total sum of

$1,066,776.85. A true copy of the October 2009 account statement for the AM-012

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Case 6:14-cv-00901-PGfeKRS Document 1 Filed 06/10/14 4P age 5 of 19 PagelD 5
5

Account reflecting said amount is attached hereto as Exhibit “B” and attached to the
Deposition as a portion of Exhibit No. 26.

17. The AM-012 Account was designated a “homestead” account as such
funds represented proceeds from the sale of Barber’s former homestead, which, at the
time, she allegedly intended to use to purchase another homestead.

18. On September 21, 2009, Barber closed the AM-012 Account and used the
funds therein to purchase a certificate of deposit at American Momentum Bank bearing
Account No. xxxxxxxx1078 (the “CD”), which was also designated a “homestead”
account (Deposition 68:5-8) . True copies of the October-December 2009 and January-
March 2010 account statements for the CD are attached hereto as Composite Exhibit
“C” and attached to the Deposition as a portion of Exhibit No. 26.

19. | Such funds were subsequently transferred to AIG Bank Account No.
XXXXX8275 (the “AIG-275 Account”) on February 17, 2010, which account was also
designated as a “homestead” account (Deposition 76:5 — 77:7). A true copy of the
February 2010 account statement for the AIG-275 Account reflecting such deposit is
attached hereto as Exhibit “D” and attached to the Deposition as Exhibit No. 34.

20. Ina previous deposition of Barber conducted on March 15, 2010 (the
“Prior Deposition”), Barber testified that she then had a present intent to use the funds in
that account to purchase a million dollar home (Prior Deposition 57:6 — 58:14, 61:19 -
62:6, 63:12 — 64:10). True copies of the relevant portions of the Prior Deposition are

attached hereto as Exhibit “E”.

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Case 6:14-cv-00901-PGhis KRS Document 1 Filed 06/10/14 a AGE 6 of 19 PagelD 6

Purchase of Homestead
21. On April 15, 2010, Barber withdrew the sum of $227,026.20 from the

AIG-275 Account, which remained designated a “homestead” account at such time
(Deposition 77:11-23). A true copy of the April 2010 account statement for the AIG-275
Account reflecting that withdrawal is attached hereto as Exhibit “F” and attached to the
Deposition as Exhibit No. 35.

22. As admitted in her Deposition testimony, such funds were withdrawn to
purchase a home located at 472 Valley View Drive, Winter Garden, Florida 34787, which
home was then and is presently her homestead (Deposition 77:11 — 78:14).

23. The purchase of her current homestead with funds from the “homestead”
account is further evidenced by Barber’s identification during the Deposition of the
Settlement Statement for her home, indicating “Cash From Borrower” of precisely the
same amount of money ($227,026.20) that was withdrawn (Deposition 78:2-14). A true
copy of said Settlement Statement is attached hereto as Exhibit “G” and attached to the
Deposition as a portion of Exhibit No. 36.

24. Following such purchase, the funds remaining in her “homestead”
account, notwithstanding that designation, were no longer entitled to the homestead
protection provided by Florida law! and thus would have been available to partially

satisfy the Plaintiffs’ Judgment.

 

1 “[W]e hold the proceeds of a voluntary sale of a homestead to be exempt from the
claims of creditors just as the homestead itself is exempt if, and only if, the vendor
shows, by a preponderance of the evidence an abiding good faith intention prior to and at
the time of the sale of the homestead to reinvest the proceeds thereof in another
homestead within a reasonable time. Moreover, only so much of the proceeds of the sale

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Case 6:14-cv-00901-PGfax KRS Document 1 Filed 06/10/14, .P age 7 of 19 PagelD 7

The Blaker Transfers
25. On February 28, 2011, Barber withdrew the sum of $641,350.00 from the

AIG-275 Account as well as the sum of $228,650.49 from AIG Bank Account No.
xxxxx0009 (the “AIG-009 Account”)(Deposition 79:13 — 80:16). Added together, these
sums equal $870,000.49. A true copy of the February 2011 AIG Bank statement for both
such accounts is attached hereto as Exhibit “H” and attached to the Deposition as
Exhibit No. 38.

26. As indicated by such statements, at the time of these transfers, neither the
AIG-275 Account nor the AIG-009 Account was designated as a “homestead” account.

27. On or about March 10, 2011, Barber caused the exact amount of funds
previously withdrawn from AIG Bank (i.e., $870,000.49) to be deposited with TD in
Account No. xxx-xx4111 (the “TD-111 Account”), which account was established in the
name of Blaker (Deposition 81:15 — 82:23). A true copy of the July 2011 account
statement for the TD-111 Account evidencing such deposit is attached hereto as Exhibit
“J and attached to the Deposition as Exhibit No. 41.

28. The TD-111 Account owned by Blaker was an “institutional account”
which Barber explained in her Deposition meant than an investment advisor guides the

investments within the account rather than her personally (Deposition 31:3-9).

 

as are intended to be reinvested in another homestead may be exempt under this holding.
Any surplus over and above that amount should be treated as general assets of the

debtor.” Orange Brevard Plumbing & Heating Co. v. La Croix, 137 So.2d 201, 206 (Fla.
1962).

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Case 6:14-cv-00901-PG i KRS Document 1 Filed 06/10/14 Page 8 of 19 PagelD 8

29. Barber caused the organization of Blaker on January 10, 2011, just a few
months prior to this transfer. A true copy of the organizational documents, including the
Operating Agreement, for Blaker are attached hereto as Composite Exhibit “J” and
attached to the Deposition as Exhibit No. 5.

30. | The Operating Agreement of Blaker indicates that Barber is both the sole
manager and sole member of Blaker.

$275,000 Subsequent Transfer

31. In September 2011, Blaker transferred $275,000.00 from the TD-111
Account to the AIG-275 Account (which account was maintained in the name of
Barber)(Deposition 83:2 — 84:25). True copies of September 2011 account statements for
both such accounts evidencing this transfer are attached hereto as Composite Exhibit
“K” and attached to the Deposition as Exhibit Nos. 42 and 43.

32. Prior to this transfer, the AIG-275 account contained only $13,891.51.

33. During her Deposition, Barber testified that this transfer was made to
avoid additional investment advisory fees on those funds (Deposition 83:6-17).

34. On February 9, 2012, Barber transferred $220,000.00 out of the AIG-275
Account, however, at the present time, the Plaintiffs are unable to identify the recipient of
such funds, as Barber did not recall that information when questioned about it in her
Deposition (Deposition 85:4-21). A true copy of the February 2012 account statement for
the AIG-275 Account evidencing such transfer is attached hereto as Exhibit “L” and

attached to the Deposition as Exhibit No. 44.

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Case 6:14-cv-00901-PGR&KRS Document 1 Filed 06/10/14 ,,Page 9 of 19 PagelD 9

$110,000 Subsequent Transfer
35. On April 2, 2012, Blaker transferred $110,000.00 from the TD-111

Account to another account with TD held in the name of Blaker bearing Account No.
XXX-XX2983 (the “TD-983 Account”)(Deposition 85:25 — 87:19). Account statements the
TD-983 account for April 2012 and August 2012 evidencing such transfer are attached
hereto as Composite Exhibit “M” and attached to the Deposition as Exhibit Nos. 45 and
46.

The Current Funds

36. Barber further testified and noted in her response to Interrogatory No. 19
of Plaintiff's Interrogatories in Aid of Execution Directed to Defendant, Sabrina M.
Azzouz, n/k/a Sabrina M. Barber propounded in connection with the Judgment that she
fired her investment advisor in 2013 and thereafter converted the TD-111 account to
“retail” account, whereby she would personally guide the investments within the account
(Deposition 31:3-17, 90:11 — 91:2, 91:19 - 92:10). A true copy of Barber’s response to
said Interrogatories is attached hereto as Exhibit “N” and attached to the Deposition as
Exhibit No. 2.

37. Barber testified in her Deposition that this change in account type lead to
the closure of the TD-111 Account, and the opening, with the same funds, of TD Account
No. xxx-xx3474 (the “TD-474 Account”), also held in the name of Blaker (Deposition
91:19 — 92:10).

38. As of April 30, 2014 (the date of the last statement produced by Barber for

each such account), the TD-474 Account had a total value of $489,848.13 and the TD-

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Case 6:14-cv-00901-PGBaKRS Document 1 Filed 06/10/14 awcde 10 of 19 PagelD 10

983 Account had a total value of $77,191.69. True copies of such account statements are
attached hereto as Composite Exhibit “O” and attached to the Deposition as Exhibit
Nos. 49 and 50.

The Impending Transfers to Mauritius

39. In her Deposition, Barber testified that not all of the funds indicated by the
April 2014 statement presently remained in the TD-474 Account, as approximately
$265,552.02 had been transferred to Applied Bank as a conduit to an anticipated further
transfer in the near future to an investment advisor named Investors Europe located in the
Republic of Mauritius (an island nation located off the coast of Africa, east of
Madagascar)(Deposition 92:11 — 96:13).

40. | Upon information and belief, such funds may presently be located in
Applied Bank Account No. xxxxxx8079 or Account No. xxxxxx9688 (which Barber
previously maintained) or may be in a newly opened account in the name of either Barber
or Blaker (collectively, the “Applied Accounts”).

41. Additionally, Barber testified in her deposition that she likewise intends to
transfer the remaining balance of the TD-474 Account (approximately $224,296.11) to
the same advisor in the Republic of Mauritius in the near future (Deposition 96:14 -
97:13).

COUNT I!
TEMPORARY INJUNCTION REGARDING PERSONAL PROPERTY

42. This is an action against Defendants, Barber, Blaker, TD, and Applied for
a temporary injunction against said Defendants, enjoining Barber, Blaker, TD, Applied,

and their respective officers, directors, members, agents, employees and those in concert

10
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Case 6:14-cv-00901-PG Balk RS Document 1 Filed 06/10/14 peege 11 of 19 PagelD 11

or participation with them, from taking any further actions with respect to any funds
derived from the $870,000.49 originally transferred into the TD-111 Account, including,
without limitation, the TD-983 Account, the TD-474 Account, the Applied Accounts to
the extent of the $265,552.02 transfer referenced above, and the $220,000.00 transferred
from AIG-275 Account on or about February 9, 2012 (collectively, the “Injunction
Accounts”) without the prior written authorization of the Plaintiffs or Order of this Court,
in order to maintain the status quo while the Plaintiffs seek to enforce thier remedies
pursuant to this Complaint, and for other relief pursuant to relevant statutes and case law.

43. | The averments contained in paragraphs 1 through 41 are incorporated
herein as if fully set forth below.

44. Based upon the facts set forth above, nearly all of which are derived from
documents produced by Barber or Barber’s own admissions in her Deposition, the
Plaintiffs have a substantial likelihood of success on the merits of its action.

45. The Injunction Accounts contain funds of Barber which would otherwise
be available to (partially) satisfy her debt owed to the Plaintiffs as a result of the
Judgment, and, based upon Barber’s Deposition testimony, such funds are being disposed
of, secreted, concealed, and converted in order to deprive the Plaintiffs of payment of the
indebtedness owed to the Plaintiffs by Barber.

46. The Plaintiffs will be irreparably injured if an injunction is not issued to
immediately enjoin Barber, Blaker, TD, and Applied from disposing of, secreting,

concealing, and unlawfully converting the funds in the Injunction Accounts in an effort to

11
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Case 6:14-cv-00901-PG Ba RS Document 1 Filed 06/10/14 mode 12 of 19 PagelD 12

avoid the effect of the Plaintiffs’ Judgment before the Plaintiffs’ claims can be heard on
the merits.

47. Said injury to the Plaintiffs outweighs any potential injury that the
proposed temporary injunction may cause to Barber, Blaker, TD, or Applied.

48. | The proposed temporary injunction, if issued, will not be adverse to the
public interest.

49. To preserve the status quo, the Plaintiffs are entitled to an injunction which
immediately enjoins Barber, Blaker, TD, Applied, and their respective officers, directors,
members, agents, employees and those in concert or participation with them, from taking
any further actions with respect to the Injunction Accounts without the prior written
authorization of the Plaintiffs or Order of this Court, until such time as the Plaintiffs’
claims asserted in this action can be heard.

WHEREFORE, the Plaintiffs respectfully request that this Court enjoin
Defendants, Barber, Blaker, TD, Applied, and their respective officers, directors,
members, agents, employees and those in concert or participation with them, from taking
any further actions with respect to the Injunction Accounts without the prior written
authorization of the Plaintiffs or Order of this Court during the pendency of this action,

and grant such other and further relief as this Court deems just and proper.

12
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Case 6:14-cv-00901-PGRAKRS Document 1 Filed 06/10/14 paride 13 of 19 PagelD 13

COUNT II

FORECLOSURE OF MEMBERSHIP INTEREST OR, IN THE ALTERNATIVE,
ISSUANCE OF CHARGING ORDER

50. This is an action against Defendant, Barber, for the foreclosure of her
membership interest in Blaker (a single-member limited liability company), or in the
alternative, for the issuance of a charging order against Barber’s interest in Blaker.

51. The averments contained in paragraphs | through 41 are incorporated
herein as if fully set forth below.

52. Section 608.433(4)(a), Florida Statues, provides “[o]n application to a
court of competent jurisdiction by any judgment creditor of a member or a member's
assignee, the court may enter a charging order against the limited liability company
interest of the judgment debtor or assignee rights for the unsatisfied amount of the

judgment plus interest.”
53. Furthermore, Section 608.433(6), Florida Statutes, provides:

In the case of a limited liability company having only one member, if a
judgment creditor of a member or member's assignee establishes to the
satisfaction of a court of competent jurisdiction that distributions under a
charging order will not satisfy the judgment within a reasonable time, a
charging order is not the sole and exclusive remedy by which the
judgment creditor may satisfy the judgment against a judgment debtor
who is the sole member of a limited liability company or the assignee of
the sole member, and upon such showing, the court may order the sale of
that interest in the limited liability company pursuant to a foreclosure sale.
A judgment creditor may make a showing to the court that distributions
under a charging order will not satisfy the judgment within a reasonable
time at any time after the entry of the judgment and may do so at the same
time that the judgment creditor applies for the entry of a charging order.

54. Based upon the discovery propounded by the Plaintiffs and the Deposition

taken of Barber, distributions under a charging order will not satisfy the Judgment within

13
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Case 6:14-cv-00901-PGRAKRS Document 1 Filed 06/10/14 mide 14 of 19 PagelD 14

a reasonable time as (i) Blaker is not in possession of sufficient assets to satisfy the
Judgment within a reasonable time, and (ii) Barber is the sole-member of Blaker, Barber
is unlikely to authorize distributions in a sufficient amount to satisfy the Judgment within
a reasonable time, and in fact would be unlikely to authorize any distributions at all if a
charging order were in place.

WHEREFORE, the Plaintiffs respectfully request that this Court order the
foreclosure sale of Barber’s membership interest in Blaker (a single-member limited
liability company), or in the alternative, issue a charging order against Barber’s interest in
Blaker, and grant such other and further relief as this Court deems just and proper.

COUNT Ill
AVOIDANCE OF FRAUDULENT TRANSFERS BASED ON ACTUAL FRAUD

UNDER SECTION 726.105(1)(A), FLORIDA STATUTES

55. This is an action by the Plaintiffs for the avoidance of all of the above-
referenced transfers from Barber to Blaker, including all such subsequent transfers by
Blaker (collectively, the “Blaker Transfers”) in violation of Section 726.105(1)(a),

Florida Statutes, based on actual fraud, against Defendants, Barber and Blaker and for

 

other relief pursuant to relevant statutes.

56. | The averments contained in paragraphs 1 — 41 above are incorporated
herein as if fully set forth below.

57. The Plaintiffs are the owners and holders of the Judgment, thus the
Plaintiffs are a creditor (as such term is defined in Chapter 726) whose claim (as such

term is defined in Chapter 726) against Barber arose prior to the Blaker Transfers.

14
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Case 6:14-cv-00901-PGRaKRS Document 1 Filed 06/10/14 parade 15 of 19 PagelD 15

58. As alleged in the foregoing paragraphs, Barber and Blaker were parties to
fraudulent transfers (as such term is defined in Chapter 726, Florida Statutes).
59. Barber engaged in actual fraud pursuant to Section 726.105(1)(a), Florida

Statutes, because the Blaker Transfers were made with the intent to hinder, delay, or

 

defraud the Plaintiffs’ collection efforts.
60. Actual intent to hinder, delay, or defraud the Plaintiffs’ collection efforts
may be determined by proving “badges of fraud” as delineated in Section 726.105(2),
Florida Statutes.
61. The Blaker Transfers were made with the actual intent to hinder, delay, or
defraud the Plaintiffs’ collection efforts, as evidenced by the following badges of fraud:
(a) The Blaker Transfers were to an insider (as defined in Chapter
726) because Barber is the sole member of Blaker.
(b) Barber retained possession or control of the funds following the
Blaker Transfers as she is the sole member of Blaker.
(c) Before the Blaker Transfers were made, Barber had been sued by
the Plaintiffs, and the Judgment had been obtained against Barber.
(d) Barber has attempted to remove or conceal assets by creating a
Nevisian company to hold the assets transferred by the Blaker Transfers.
(e) No value or reasonably equivalent value was received in exchange
for the Blaker Transfers. Specifically, the Blaker Operating Agreement notes that
Barber contributed only the sum of $100 in exchange for her membership interest

therein.

15
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Case 6:14-cv-00901-PCB aK RS Document 1 Filed 06/10/14 mage 16 of 19 PagelD 16

(f) Barber was insolvent at the time of the Blaker Transfers as she did
not have sufficient assets to satisfy the Plaintiffs’ claims against her under the
Judgment.

(g) | The Blaker Transfers occurred after Judgment was entered against
her and shortly after the funds transferred were no longer protected from
execution by Florida’s homestead laws.

62. Based upon the foregoing, the Blaker Transfers were clearly made in
violation of Section 726.105(1)(a), Florida Statutes, with the actual intent to hinder,
delay, or defraud the Plaintiffs’ collection efforts.

63. All conditions precedent to the bringing of this action have occurred or
have been waived.

WHEREFORE, the Plaintiffs respectfully request that this Court: (i) find that the
Blaker Transfers were fraudulent transfers pursuant to Section 726.105(1)(a), Florida

Statutes, based on actual fraud; (ii) invalidate the Blaker Transfers and order all such

 

funds be paid over to the Plaintiffs in partial satisfaction of the claims of the Plaintiffs
under the Judgment; and (iii) award the Plaintiffs such other and further relief as this

Court may deem just and proper.

COUNT IV
AVOIDANCE OF FRAUDULENT TRANSFERS BASED ON CONSTRUCTIVE

FRAUD UNDER SECTION 726.106(1), FLORIDA STATUTES

64. This is an action by the Plaintiffs for the avoidance of the Blaker Transfers

in violation of Section 726.106(1), Florida Statutes, based on constructive fraud, against

 

Defendants, Barber and Blaker, and for other relief pursuant to relevant statutes.

16
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Case 6:14-cv-00901-PGRakRS Document 1 Filed 06/10/14 mage 17 of 19 PagelD 17

65. | The averments contained in paragraphs 1 — 41 above are incorporated
herein as if fully set forth below.

66. The Plaintiffs are the owners and holders of the Judgment, thus the
Plaintiffs are a creditor (as such term is defined in Chapter 726) whose claim (as such
term is defined in Chapter 726) against Barber arose prior to the Blaker Transfers.

67. As alleged in the foregoing paragraphs, Barber and Blaker were parties to
fraudulent transfers (as such term is defined in Chapter 726, Florida Statutes).

68. Pursuant to Section 726.106(1), Florida Statues, “a transfer made... by a

 

debtor is fraudulent as to a creditor whose claim arose before the transfer was made... if
the debtor made the transfer... without receiving a reasonably equivalent value in
exchange for the transfer... and the debtor was insolvent at that time or the debtor
became insolvent as a result of the transfer...”

69. The Blaker Transfers were fraudulent as to the Plaintiffs because:

(a) A “claim” under Chapter 726, Florida Statues, is defined as “a
right to payment, whether or not the right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured”; thus the Plaintiffs’ claim against Barber arose
no later than January 20, 2010 (being the initial date of the Judgment), which date
is prior to all of the Blaker Transfers;

(b) Barber made the Blaker Transfers without receiving a reasonably

equivalent value in exchange for the transfers. Specifically, the Blaker Operating

17
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Case 6:14-cv-00901-PCB aK RS Document 1 Filed 06/10/14 pmge 18 of 19 PagelD 18

Agreement notes that Barber contributed only the sum of $100 in exchange for
her membership interest therein; and

(c) Barber was insolvent at the time of the Blaker Transfers as she did
not have sufficient assets to satisfy the Plaintiffs’ claims against her under the

Judgment.

70. | Based upon the foregoing, the Blaker Transfers were clearly made in
violation of Section 726.106(1), Florida Statutes, with constructive intent to hinder, delay,
or defraud the Plaintiffs’ collection efforts.

71. All conditions precedent to the bringing of this action have occurred or
have been waived.

WHEREFORE, the Plaintiffs respectfully request that this Court: (i) find that the

Blaker Transfers were fraudulent transfers pursuant to Section 726.106(1), Florida

 

Statutes, based on constructive fraud; (ii) invalidate the Blaker Transfers and order all

such funds be paid over to the Plaintiffs in partial satisfaction of the claims of the

Plaintiffs under the Judgment; and (iii) award the Plaintiffs such other and further relief
as this Court may deem just and proper.
wr
Dated this | O day of June, 2014.

Mf Fe —

Gary Solés

Florida Bar No. 0614149

Michael S. Provenzale

Florida Bar No. 0056834

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18
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Case 6:14-cv-00901-PGEKRS Document 1 Filed oe/t0/14 fave 19 of 19 PagelD 19

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19
